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Praintirr, *
vs. * Crimina| No. 04-20162-Ma
KE|TH RuNYoN, * l

Defendant. *

 

PREL|M|NARY ORDER OF FORFE|TURE

 

ln lndictment Number 04-20162-Ma, the United States sought forfeiture of specific
property of defendant Keith Runyon, pursuai-n~io'i/s u.s.c. § 2252. on August11,2004,
the defendant, Keith Runyon, entered a plea of guilty to Counts 1 through 7 of the
|ndictment.

Accordingly, it is ORDERED:

1. Based upon the defendants guilty plea to Counts ‘l through 7 of the
indictment Number 04-20162-Ma, the United States is authorized to seize the following
property belonging to defendant Keith Runyon, and his interest in it is hereby forfeited to
the United States fordisposition in accordance with the |aw, subject to the provisions of 21
U.S.C. §853(n) and Ru|e 32(d)(2) of the Federa| Ruies of Crimina| Procedure:

a. Any visual depiction described in Section 2252 of Title 18 United
States Code, and any book, magazine, periodical, firm, videotape, and other matter which
contains any such visual depiction, which Was produced, transported. mailed, shipped, or

received in violation of the above said statute;

This doct.ment entered on the docket sh et in ompl' ca
with Hllle 55 and/or 321bi FRCrP on ii§

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b. Any property, real or personal, constituting or traceable to gross

profits or other proceeds obtained from the above said offenses; and

c. Any property, real or personal, used or intended to be used to commit

or to promote the commission of the above said offenses, including but not limited to the

fo|iowing:

3)
4)

5)

6)

7)

oNE (1) HP PAvlLloN 6623,
s/N usssoosss?;

oNE (1) DELL DirleNsioN 4600,
s/N 350JB41;

ONE (1) PH|L|PS CD-RBO CDRO|V|;
TH|RTY-THREE (33) CD ROIVIS;

ONE (1) DELL |V|ON|TOR, S/N CN-OPO151-
64180-41D-058B;

ONE (1) DELL KEYBOARD, S/N
CN-O7N242-71616-3C4-OK9H;

ONE (1) SET OF DELL SPEAKERS
AND SUBWOOFER.

All pursuant to Title 18, United States Code, Section 2253.

2. The forfeited property is to be held by the United States |Vlarshal in his

secure custody, or, as may be necessary, the Attorney Genera| may appoint a substitute

custodian.

3. Pursuantto 21 U.S.C. §853(n)(1), the United States |Vlarshal shall publish at

least once a week for three successive weeks in a newspaper of general circulation in

Shelby County, Tennessee, notice of this order, notice of the United States’ intent to

dispose of the property in such manner as the Attorney General or his delegate may direct,

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and notice that any person, other than the defendant, having or claiming a legal interest
in any of the above-listed forfeited property must file a petition with the court within thirty
(30) days of the final publication of notice or of receipt of actual notice, whichever is earlier.
This notice shai| state that the petition shall be for a hearing to adjudicate the validity of the
petitioner's alleged interest in the property, shall be signed by the petitioner under penalty
of perjury, and shall set forth the nature and extent of the petitioner’s right, title or interest
in each of the forfeited properties and any additional facts supporting the petitioner’s claim
and the relief sought The United States |Vlarsha| or his delegate may use the attached
Legal Notice.

The United States may also, to the extent practicab|e, provide direct written notice
to any person known to have alleged an interest in property that is the subject of this
Preliminary Order of Forfeiture, as a substitute for published notice as to those persons so
notified.

4. Pursuant to Fed. R. Crim. P. 32.2(b)(3), this Preliminary Order of Forfeiture
shall become final as to the defendant at the time of sentencing and shall be made part of
the sentence and included in the judgment.

5. if no third party files a timely claim, this Order shall become the Fina| Order
of Forfeiture, as provided by Fed. R. Crim. P. 32.2(c)(2).

6. The United States shall have cleartit|e to the Subject Property following the
Court’s disposition of a|| third-party interests, or, if none, following the expiration of the
period provided in 21 U.S.C. §853(n)(2), which is incorporated by 18U.S.C. §982(b) and
28 U.S.C. §2461(0), for the filing of third party petitions.

7. The Court shall retain jurisdiction to enforce this Order, and to amend it as

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necessary, pursuant to Fed. R. Crim. P. 32.2(e).

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. 2005.

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SAMUEL H. MAYS, JR.
United States District Judge

rT ls so oRDEREo this 15 V\ _day or

 

PRESENTED BY:

TERRELL L. HARRlS
United States Attorney

[YeeW///

isToPr-IER'E. coTTEN
ssr sitant United States Attorney

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|N THE UN|TED STATES D|STRICT COURT
FOR THE WESTERN D|STR|CT OF TENNESSEE
WESTERN D|V|S|ON

 

 

UN|TED STATES OF AMER|CA, *
P|aintiff, *
vs. * Criminai No. 04-20162-|\/|a
KE|TH RUNVON, *
Defendant. *
LEGAL NOT|CE
Take notice that on . the United States District Court for the

 

Western District of Tennessee, Western Division, entered a Preliminary Order of Forfeitu re
ordering that all right, title and interest of the defendant Keith Runyon in the following
property be forfeited to the United States to be disposed of in accordance with law:

a. Any visual depiction described in Section 2252 of Title 18 United States
Code, and any book, magazine, periodica|, firm, videotape, and other matter which
contains any such visual depiction, which was produced, transported, mailed, shipped, or
received in violation of the above said statute;

b. Any property1 real or personal, constituting or traceable to gross profits or
other proceeds obtained from the above said offenses; and

c. Any property, real or personal, used or intended to be used to commit or to

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promote the commission of the above said offenses, including but not limited to the

following:

6)

7)

ONE (‘|) HP PAV|L|ON 6623,
S/N U895009667;

ONE (1) DELL D|MENS|ON 4600,
S/N 35DJB41;

ONE (1) PH|L|PS CD-RSO CDRO|\/l;
TH|RTY-THREE (33) CD RO|V|S;

ONE (1) DELL MON|TOR, S/N CN-OPO151-
64180-41D-O5SB;

ONE (1) DELL KEYBOARD, S/N
CN-07N242-71616-3C4-OK9H;

ONE (1) SET OF DELL SPEAKERS
AND SUBWOOFER.

A|| pursuant to Title 18, United States Code, Section 2253.

The United States intends to dispose of this property in such matter as the Attorney

General or his delegate may direct. Any person, other than the defendant, having or

claiming a legal interest in the above-listed forfeited property must file a petition with the

Court within thirty (30) days of the final publication of this notice or of receipt of actual

notice, whichever is earlier. The petition shall be for a hearing to adjudicate the validity of

the petitioner’s alleged interest in the property, shall be signed by the petitioner under

penalty of perjury, and shall set forth the nature and extent of the petitioner’s right, tit|e, or

interest in each of the forfeited properties and any additional facts supporting the

petitioner’s claim and relief sought.

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 50 in
case 2:04-CR-20162 Was distributed by faX, mail, or direct printing on
August 3], 2005 to the parties listed.

 

 

J. Patten BroWn

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

Memphis7 TN 38103

Dan NeWsom

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Pamela B. Hamrin

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

Memphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

